Case 5:20-cv-00944-D Document 88 Filed 05/29/24 Page 1 of 2
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF OKLAHOMA

Dwain Edward Thomas
Plaintiff

Case No.: 5:20-cv-00944-D

vs.
Kevin Stitt, et al.

Defendant

AFFIDAVIT OF SERVICE

I, Stephen Rhodes, a Private Process Server, being duly swom, depose and say:
That I am over the age of eighteen years and not a party to or otherwise interested in this matter.

That I have been duly authorized to make service of the Subpoena to Testify at a Deposition in a Civil Action and Witness Fee
Check in the Amount of $48.04 in the above entitled case.

That on 5/16/2024 at 6:02 PM, I personally served Adam Luck with the Subpoena to Testify at a Deposition in a Civil Action and
Witness Fee Check in the Amount of $48.04 at 1440 NW 35th Street, Oklahoma City, Oklahoma 73118.

Adam Luck is described herein as:

Gender: Male Race/Skin: White Age: 40 Weight: 180 Height: 6'1" Hair: Black Glasses: No

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge,
information, and belief.

,

Vitel.

Stéphen Rhodes

SS Jar Joy
Executed On :

Client Ref Number:50394-0001
Job #: 2003541

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
Case 5:20-cv-00944-D Document 88 Filed 05/29/24 Page 2 of 2

AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Oklahoma

Dwain Edward Thomas

Plainnff

Vv. Civil Action No. CIV-20-944-D

Kevin Stitt, et al.

See Ne Sea Se See ee”

Defendant

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Adam Luck

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters:

Place: Date and Time:

2500 S. Broadway, Suite 122, Edmond, OK 73013 07/01/2024 9:00 am

The deposition will be recorded by this method: _ Video

(1 Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 05/07/2024

CLERK OF COURT
OR
/s/ Emily Merki Long
Signature of Clerk or Deputy Clerk Attorney's signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Plaintiff
Dwain Edward Thomas , who issues or requests this subpoena, are:

Emily Merki Long, Kirkland & Ellis LLP, 1301 Pennsylvania Ave. NW, Washington, DC 20004, emily.long@kirkland.com, (202) 389-3065

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
